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 1
 2                                                                           6/10/23
 3
 4                                                                            CLA

 5
 6         Frederick Koster
 7         1846 Innovation Park Dr, #100 Oro Valley, AZ 85755
 8         602-451-0999
 9        fredkusa1@gmail.com
10        Frederick Koster in Pro Per
11
12
13
14
15                          UNITED STATES DISTRICT COURT
16                         CENTRAL DISTRICT OF CALIFORNIA
17
18
19
20        NEXT VIETNAM PROJECTS                      Case No.: 8:22-cv-2130- JWHDFM
21        FOUNDATION, INC., ET AL
22        Plaintiffs                                 RULE 15(A) AMENDED
23                                                   DEFENDANT’S ANSWERS,
24                                                   AFFIRMATIVE DEFENSES
25                 v.                                COUNTERCLAIM
26
27
28
29        KOSTER FILMS LLC,
30        FREDERICK KOSTER, ET AL
31        Defendants
32

33        Defendant Frederick Koster states as follows:
34
35                                    GENERAL DENIAL
36
37        Pursuant to Rule 8(b), Fed. R. Civ. P., Defendant denies generally all claims not
38        specifically admitted herein.
39

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40
41                                        INTRODUCTION
42
43            1. Defendant denies each and every allegation in paragraph 1. Defendant
44     denies that plaintiffs Radix Corporation (VVFH) and Saigon Broadcasting
45     Television Network, Inc. (SBTN) which plaintiffs label and alleges are producers
46     of the film. This allegation is repeated throughout the pleading and defendant
47     denies each and every time this allegation is mentioned.
48
49           2. Defendant admits that the film and interviews are solely in possession of
50     the defendants. Defendant denies each and every other allegation in paragraph 2.
51
52           3. Defendant admits that the individual plaintiffs listed in paragraph 3 agreed
53     to appear in the film. Defendant denies each and every other allegation in
54     paragraph 3.
55
56            4. Defendant admits that My Van International Inc gave permission to use
57     stock footage from a film My Van alleges owns. Defendant denies each and every
58     other allegation in paragraph 4.
59
60            5. Defendant denies each and every allegation in paragraph 5.
61
62            6. Defendant denies each and every allegation in paragraph 6.
63
64            7. Defendant is without knowledge or information sufficient to form a
65      belief as to the truth or the falsity of the allegations contained in paragraph 7.
66
67             8. Defendant is without knowledge or information sufficient to form a
68     belief as to the truth or the falsity of the allegations contained in paragraph 8.
69
70             9. Defendant is without knowledge or information sufficient to form a
71     belief as to the truth or the falsity of the allegations contained in paragraph 9.
72
73            10. Defendant is without knowledge or information sufficient to form a
74     belief as to the truth or the falsity of the allegations contained in paragraph 10.
75
76            11. Defendant is without knowledge or information sufficient to form a
77
78     belief as to the truth or the falsity of the allegations contained in paragraph 11.
79

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 80            12. Defendant is without knowledge or information sufficient to form a
 81     belief as to the truth or the falsity of the allegations contained in this paragraph 12.
 82
 83            13. Defendant is without knowledge or information sufficient to form a
 84     belief as to the truth or the falsity of the allegations contained in paragraph 13.
 85
 86            14. Defendant is without knowledge or information sufficient to form a
 87     belief as to the truth or the falsity of the allegations contained in paragraph 14.
 88
 89            15. Defendant is without knowledge or information sufficient to form a
 90     belief as to the truth or the falsity of the allegations contained in paragraph 15.
 91
 92            16. Defendant is without knowledge or information sufficient to form a
 93     belief as to the truth or the falsity of the allegations contained in paragraph 16.
 94
 95            17. Defendant is without knowledge or information sufficient to form a
 96     belief as to the truth or the falsity of the allegations contained in paragraph 17.
 97
 98         18. Defendant admits Koster Films LLC is an Arizona Limited Liability
 99     Company. Defendant denies each and every other allegation in paragraph 18.
100
101           19. Defendant admits to paragraph 19.
102
103            20. Defendant is without knowledge or information sufficient to form a
104     belief as to the truth or the falsity of the allegations contained in paragraph 20.
105
106            21. Defendant is without knowledge or information sufficient to form a
107     belief as to the truth or the falsity of the allegations contained in this paragraph.
108
109           22. Defendant denies each and every allegation in paragraph 22.
110
111                               JURISDICTION AND VENUE
112
113     Defendant is not contesting Jurisdiction and Venue.
114
115            23. Defendant is without knowledge or information sufficient to form a
116     belief as to the truth or the falsity of the allegations contained in paragraph 23.
117
118            24. Defendant is without knowledge or information sufficient to form a
119     belief as to the truth or the falsity of the allegations contained in paragraph 24.
                                                    3
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120
121            25. Defendant is without knowledge or information sufficient to form a
122     belief as to the truth or the falsity of the allegations contained in paragraph 25.
123
124            26. Defendant is without knowledge or information sufficient to form a
125     belief as to the truth or the falsity of the allegations contained in this paragraph.
126
127            27. Defendant is without knowledge or information sufficient to form a
128     belief as to the truth or the falsity of the allegations contained in paragraph 27,
129     lines 5 through 10. Defendant denies lines 11 through 18 of paragraph 27.
130
131                                  STATEMENT OF FACTS
132
133            28. Defendant is without knowledge or information sufficient to form a
134     belief as to the truth or the falsity of the allegations contained in paragraph 28.
135
136            29. Defendant admits to being director of the film. Defendant is without
137     knowledge or information sufficient to form a belief as to the truth or the falsity of
138     the allegations contained in paragraph 29.
139
140          30. Defendant admits VVFH and SBTN were aware of Defendant from the
141     Defendant being the director, writer and producer of the film “Ride the Thunder”.
142     Defendant denies all other allegations in paragraph 30.
143
144            31. Defendant denies that any discussions of other possible projects from 5
145     years ago is material to this lawsuit. Due to these discussions happening 5 years
146     ago, Defendant is without specific knowledge or information sufficient to form a
147     belief as to the truth or the falsity of the allegations contained in paragraph 31.
148
149           32. Defendant denies each and every allegation in paragraph 32.
150
151            33. Defendant denies that VVFH and SBTN are producers. Defendant is
152     without knowledge or information sufficient to form a belief as to the truth or the
153     falsity of the allegations contained in paragraph 33.
154
155            34. Defendant denies that any actions that were done for other possible
156     projects from 5 years ago are immaterial to this lawsuit. Defendant denies that
157     VVFH and SBTN are producers. Due to these possible actions happening 5 years
158     ago, Defendant is without specific knowledge or information sufficient to form a
159     belief as to the truth or the falsity of the allegations contained in paragraph 34.
                                                    4
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160
161           35. Defendant admits My Van Corporation donated the use of historical
162     footage to defendants. Defendant denies each and every other allegation in
163     paragraph 35.
164
165            36. Defendant admits that he is the director of the film. Due to this allegation
166     being from over 5 years ago, Defendant is without specific knowledge or
167     information sufficient to form a belief as to the truth or the falsity of the other
168     allegations in paragraph 36.
169
170           37. Defendant denies each and every allegation in paragraph 37.
171
172            38. Defendant denies stating he was a Director for hire. Defendant denies
173     that any discussions of other possible projects from 5 years ago pertain to this
174     lawsuit and is immaterial. Due to the fact that this alleged interview happened over
175     5 years ago, Defendant is without knowledge or information sufficient to form a
176     belief as to the truth or the falsity of the allegations contained in paragraph 38.
177
178            39. Defendant denies stating he was a Director for hire. Defendant denies
179     that any discussions of other possible projects from 5 years ago pertain to this
180     lawsuit and is immaterial. Due to the fact that this alleged interview happened over
181     5 years ago, Defendant is without knowledge or information sufficient to form a
182     belief as to the truth or the falsity of the allegations contained in paragraph 39.
183
184            40. Defendant denies that any discussions concerning other possible projects
185     from 5 years ago is immaterial. Due to the fact that this alleged correspondence
186     happened over 5 years ago, Defendant is without knowledge or information
187     sufficient to form a belief as to the truth or the falsity of the specific allegations
188     contained in paragraph 40.
189
190            41. Defendant admits that he interviewed and filmed interviews during 2018.
191     Mr Pham acted as an interpreter for some of these interviews. Due to these
192     interviews happening 5 years ago, Defendant is without knowledge or information
193     sufficient to form a belief as to the truth or the falsity of the other allegations
194     contained in this paragraph therefore denies all other allegations.
195
196            42. Defendant admits to discussions with various individuals about the
197     making of a feature documentary. Defendant denies each and every other
198     allegation in paragraph 42.
199

                                                   5
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200            43. Defendant admits talking with individuals in reference to the making of
201     the film. Defendant denies stating that the film would be distributed through the
202     Next Vietnam Foundation. Inc., which did not exist at this time. Due to these
203     alleged events happening over 4 years ago, Defendant is without knowledge or
204     information sufficient to form a belief as to the truth or the falsity of other the other
205     allegations contained in paragraph 43.
206
207            44. Defendant admits correspondence with Nam Pham concerning the script
208     that the defendant was writing. Defendant admits not sending a script to VVFH and
209     SBTN. Defendant denies each and every other allegation in paragraph 44.
210
211           45. Defendant admits that Mr. Pham, Dr. Hoang, Mr. D. Phan, Dr. T. Phan,
212     Mr. S. Nguyen, Ms. T. Nguyen, and Ms. M. Nguyen agreed to participate in the
213     Film. Defendant denies each and every other allegation in paragraph 45. In
214     reference to the footnote for paragraph 45 (page 12, line 26). Defendant admits
215     that M. Nguyen signed a Talent Release Form Contract. Defendant denies each
216     and every other allegation in this footnote.
217
218           46. Defendant admits providing a script to Mr. Pham. Defendant denies
219     each and every other allegation in paragraph 46.
220
221           47. Defendant admits that as a standard practice in the film industry, during
222     the process of researching to make a documentary film that he talked with many
223     people to ensure historical accuracy. Defendant admits he does not speak
224     Vietnamese. Defendant denies each and every other such allegation in this
225     paragraph.
226
227           48. Defendant denies each and every allegation in paragraph 48.
228
229           49. Defendant denies each and every allegation in paragraph 49.
230
231            50. Defendant admits filming parts of the film in California. Due to these
232     events happening over 4 years ago, Defendant is without knowledge or information
233     sufficient to form a belief concerning the details of these interviews. Defendant
234     denies each and every other allegation in paragraph 50.
235
236           51. Defendant admits to paragraph 51.
237



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238            52. Defendant admits filming interviews in California. Due to these
239     interviews happening up 5 years ago, Defendant is without knowledge or
240     information sufficient to form a belief concerning the details of these interviews.
241
242            53. Defendant admits there were discussions with various individuals about
243     the film. Due to these discussions happening up 5 years ago, Defendant is without
244     knowledge or information sufficient to form a belief concerning the specific details
245     of these discussions.
246
247           54. Defendant admits on November 21, 2019, he sent a group email to
248     individuals and the referenced Exhibit 7 appears to be the email the Defendant
249     sent. Defendant denies that defendant’s email was sent to VVFH or SBTN,
250     Defendant denies that VVFH and SBTN are producers.
251
252           55. Defendant denies each and every allegation in paragraph 55.
253
254           56. Defendant admits sending email and Exhibit 8 appears to be that email.
255     Defendant admits there were delays in post-production due to the Covid epidemic
256     and scheduling conflicts. Defendant denies each and every allegation in paragraph
257     56.
258
259            57. Defendant admits a rough-cut version of the film was sent to certain
260     individuals. Defendant denies the allegations of lines 18 to 24. Defendant is
261     without knowledge or information sufficient to form a belief as to the truth or the
262     falsity of the other allegations contained in paragraph 57.
263
264            58. Defendant denies that VVFH and SBTN are producers. Due to this
265     allegation dating back over 3 years, Defendant is without knowledge or
266     information sufficient to form a belief as to the truth or the falsity of the allegations
267     contained in paragraph 59 therefore denies each and every such allegation.
268
269            59. Due to this allegation dating back over 3 years, Defendant is without
270     knowledge or information sufficient to form a belief as to the truth or the falsity of
271     the allegations contained in paragraph 59 therefore denies each and every such
272     allegation
273
274            60. Due to these alleged events happening about 3 years and plaintiffs not
275     listing specific dates, Defendant is without specific knowledge or information
276     sufficient to form a belief as to the truth of each and every allegation contained in
277     paragraph 60.
                                                    7
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278
279           61. Defendant admits that Defendants’ own the copyright of the film.
280     Exhibit J appears to be a screen shot of the US Copyright registration. Defendant
281     admits there was an attempted publication and distribution of the film by the
282     Defendants in April of 2021 through various internet platforms, but all distribution
283     was almost immediately shut down by plaintiff Ms. M. Nguyen when she sent
284     copyright take down notices to the platforms distributing the film. Defendant
285     denies the allegation that the defendants don’t have the full rights to release the
286     film. Due to this event happening over 2 years ago, Defendant is without specific
287     knowledge or information sufficient to form a belief as to the truth of each and
288     every allegation contained in paragraph.
289
290           62. Defendant denies that VVFH and SBTN are producers. Defendant
291     admits receiving an email from Ms M Nguyen in April 2021 that included a cease-
292     and-desist letter that also included other threats.
293
294            63. Defendant admits that there was another attempted publication and
295     release of the film by the Defendants in April of 2021, but it was almost
296     immediately stopped by plaintiff M. Nguyen when she fraudulently sent take down
297     notices to the film distributing platforms. Defendant denies plaintiff’s allegation
298     that they do not own the copyright. Defendant is without knowledge or
299     information sufficient to form a belief as to the truth other allegations contained in
300     paragraph.
301
302            64. Defendant admits that there was an attempted release of the film by the
303     Defendants in April of 2021, but it was almost immediately stopped by plaintiff M.
304     Nguyen when she fraudulently sent copyright take down notices to the platforms
305     distributing the film. Defendant is without knowledge or information sufficient to
306     form a belief as to the truth of each and every other allegation contained in
307     paragraph 64.
308
309            65. Defendant admits Ms. M Nguyen sent a demand letter that included
310     threats to Mr. Tooker to intimidate him into sending the film interviews and any
311     related film footage to the law firm she was employed with. Defendant is without
312     knowledge or information sufficient to form a belief as to the truth of each and
313     every allegation contained in paragraph.
314
315           66. Defendant admits to paragraph 66.
316


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317            67. Based on Plaintiffs’ Exhibit K, Defendant admits to the existence of this
318     email from the Victims of Communism Memorial Foundation (VOC) stating that
319     Defendants tried to donate the interviews and film to VOC. Defendant denies line
320     “On information and belief, this was an attempt by Koster to barter away the Film,
321     Interviews and other material that by rights belong to the Next Vietnam
322     Foundation.”
323
324           68. Defendant denies paragraph 68.
325
326            69. Defendant admits that the Interviews have not been sent. Defendant is
327     without knowledge or information sufficient to form a belief as to the truth of each
328     and ever Defendant is without knowledge or information sufficient to form a belief
329     as to the truth of each and every allegation contained in paragraph.
330
331           70. Defendant denies paragraph 70.
332
333           71. Defendant denies committing fraud. Defendant admits that Richard
334     Botkin contracted with Koster Films LLC to produce, direct and write the screen
335     play for the aforementioned film. Defendant admits having copies of this film in
336     his possession.
337
338                               FIRST CAUSE OF ACTION
339
340           72. Defendant repeats all answers of the foregoing paragraphs as if fully set
341     herein.
342
343            73. Defendant is without knowledge or information sufficient to form a
344     belief as to the truth of each and every allegation contained in paragraph 73
345
346            74. Defendant admits My Van allowed defendants to use historical footage
347     that he claims to own for use in the Defendant’s film. Defendant admits 12 seconds
348     of this provided historical footage appears in the film. Defendant denies each and
349     every other allegation in paragraph 74.
350
351           75. Defendant admits that the film rights have not been assigned. Defendant
352     denies each and other every allegation in paragraph 75.
353
354           76. Defendant denies each and every allegation in paragraph 76.
355
356           77. Defendant denies each and every allegation in paragraph 77.
                                                 9
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357
358                            SECOND CAUSE OF ACTION
359
360         78. Defendant repeats all answers of the foregoing paragraphs as if fully set
361   herein.
362
363         79. Defendant denies each and every allegation in paragraph 79.
364
365         80. Defendant denies each and every allegation in paragraph 80.
366
367         81. Defendant denies each and every allegation in paragraph 81.
368
369         82. Defendant denies each and every allegation in paragraph 82.
370
371         83. Defendant denies each and every allegation in paragraph 83.
372
373         84. Defendant denies each and every allegation in paragraph 84.
374
375                             THIRD CAUSE OF ACTION
376
377         85. Defendant repeats all answers of the foregoing paragraphs as if fully set
378         herein.
379
380         86. Defendant denies each and every allegation in paragraph 86.
381
382         87. Defendant denies each and every allegation in paragraph 87.
383
384         88. Defendant denies each and every allegation in paragraph 88.
385
386         89. Defendant denies each and every allegation in paragraph 89.
387
388         90. Defendant denies each and every allegation in paragraph 90.
389
390         91. Defendant denies each and every allegation in paragraph 91.
391
392         92. Defendant denies each and every allegation in paragraph 92.
393
394         93. Defendant denies each and every allegation in paragraph 93.
395
396                            FOURTH CAUSE OF ACTION
                                               10
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397
398         94. Defendant repeats all answers of the foregoing paragraphs as if fully set
399         herein.
400
401          95. Defendant is without knowledge or information sufficient to form a
402   belief as to the truth or the falsity of the allegations contained in paragraph 95.
403
404        96. Defendant agrees that the Individuals agreed to appear in the film.
405   Defendant denies each and every other allegation in paragraph 96.
406
407         97. Defendant denies each and every allegation in paragraph 97.
408
409         98. Defendant denies each and every allegation in paragraph 98.
410
411         99. Defendant denies each and every allegation in paragraph 99.
412
413         100. Defendant denies each and every allegation in paragraph 100.
414
415                              FIFTH CAUSE OF ACTION
416
417         101. Defendant repeats all answers of the foregoing paragraphs as if fully
418         set herein.
419
420         102. Defendant denies each and every allegation in paragraph 102.
421
422         103. Defendant denies each and every allegation in paragraph 103
423
424          104. Defendant is without knowledge or information sufficient to form a
425   belief as to the truth or the falsity of the allegations contained in paragraph 104.
426
427         105. Defendant denies each and every allegation in paragraph 105
428
429         106. Defendant denies each and every allegation in paragraph 106.
430
431         107. Defendant denies each and every allegation in paragraph 107.
432
433                              SIXTH CAUSE OF ACTION
434
435         108. Defendant repeats all answers of the foregoing paragraphs as if fully set
436         herein.
                                                 11
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437
438         109. Defendant denies each and every allegation in paragraph 109.
439
440         110. Defendant denies each and every allegation in paragraph 110.
441
442          111. Defendant denies that My Van did not give permission to use the
443   historical footage provided to the Defendants. Defendant is without knowledge or
444   information sufficient to form a belief as to the truth of each and every allegation
445   contained in paragraph 111 therefore denies each and every one of them.
446
447         112. Defendant denies each and every allegation in paragraph 112.
448
449        113. Defendant admits that the defendants’ own the copyright of the film.
450   Defendant denies each and every allegation in paragraph 113.
451
452         114. Defendant denies each and every allegation in paragraph 114.
453
454         115. Defendant denies each and every allegation in paragraph 115.
455
456         116. Defendant denies each and every allegation in paragraph 116.
457
458                           SEVENTH CAUSE OF ACTION
459
460         117. Defendant repeats all answers of the foregoing paragraphs as if fully
461         set herein.
462
463         118. Defendant denies each and every allegation in paragraph 118.
464
465         119. Defendant denies each and every allegation in paragraph 119.
466
467         120. Defendant denies each and every allegation in paragraph 120.
468
469                                PRAYER FOR RELIEF
470
471         A. Defendant denies each and every request in paragraph A.
472
473         B. Defendant denies each and every request in paragraph B.
474
475         C. Defendant denies each and every request in paragraph C.
476

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477         D. Defendant denies each and every request in paragraph D.
478
479         E. Defendant denies each and every request in paragraph E.
480
481         F. Defendant denies each and every request in paragraph F.
482
483         G. Defendant denies each and every request in paragraph G.
484
485         H. Defendant denies each and every request in paragraph H.
486
487         I. Defendant denies each and every request in paragraph I.
488
489                               AFFIRMATIVE DEFENSE
490
491   Defendants do not knowingly or intentionally waive any applicable defense and re-
492   serve the right to assert and rely on such other applicable defenses as may become
493   available or apparent during the course of the proceedings. Defendant further re-
494   serves the right to amend his Answer and/or defenses accordingly, and/or delete
495   defenses that they determine are not applicable, during the course of the proceed-
496   ings. Without assuming any burdens that they would not otherwise bear, Defendant
497   asserts the following defenses:
498
499                           FIRST AFFIRMATIVE DEFENSE
500
501                                  LACK OF STANDING
502
503         1. All Eleven Plaintiffs fail to pass the Supreme Court’s three-part test to
504   determine whether a party has standing to sue.
505
506        2.Plaintiffs TRONG PHAN, SON NGUYEN and THANH-MAI NGUYEN
507   (name later changed to Thanh Phuong Le) are suing for Misappropriation of
508   Likeness (Cause of Action 4)
509
510          3.These 3 plaintiffs do not appear in the film that is the issue of this lawsuit
511   (film), nor were they interviewed for the film. In their Declarations which are in
512   the Complaint, these plaintiffs did not state that they appeared in the film or were
513   interviewed.
514
515        4.Plaintiff by the name of DIEP PHAN, is suing for Misappropriation of
516   Likeness (Cause of Action 4). This Plaintiff’s name is unknown to the Defendant.
                                                 13
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517   Defendant needs further clarification on this person’s name and a visual image of
518   this person. There is no declaration from Diep Phan.
519
520          5.Plaintiff NEXT VIETNAM PROJECTS FOUNDATION INC (NVF),
521   (Cause of Actions 2,5,6) states in the complaint that it does not have a contract
522   with Defendants and that this corporation was not in existence during production
523   of the film. NVF also did not provide a single piece of evidence in their 110 pages
524   of exhibits and declarations that would suggest NVF had a business relationship
525   with Defendants.
526
527          6.Plaintiff SAIGON BROADCASTING TELEVISION NETWORK INC
528   (SBTN), (Cause of Actions 2,3,6,7) states “Defendants were parties to a contract
529   established by their conduct and mutual representations” which resulted in SBTN
530   copyright ownership of the film. SBTN allegation is in direct violation of
531   Copyright Law of the United States (Title 17). SBTN also did not provide a single
532   piece of evidence in plaintiffs’ 110 pages of exhibits and declarations that would
533   suggest SBTN had a business relationship with Defendants.
534
535         7.Defendant also asserts that it is not reasonable to believe that with the
536   many complexities of making a feature film, that any reasonable party would ever
537   go into a binding contract strictly through conduct and mutual representations.
538
539          8.Plaintiff RADIX CORPORATION (VVFH), (Cause of Actions 2,3,6,7)
540   states “Defendants were parties to a contract established by their conduct and
541   mutual representations” which resulted in VVFH copyright ownership of the film.
542   VVFH allegation is in direct violation of Copyright Law of the United States (Title
543   17). VVFH also did not provide a single piece of evidence in plaintiffs’ 110 pages
544   of exhibits and declarations that would suggest VVFH had a business relationship
545   with Defendants.
546
547           9.Plaintiffs NAM PHAM and MINH NGUYEN are suing for
548   Misappropriation of Likeness (Cause of Action 4). Both of these plaintiffs signed
549   written Talent Release Form contracts with Defendants that allowed Defendants
550   full rights to use their Likeness in the film and for marketing of film. As per the
551   Talent Release forms, both of these plaintiffs waived their rights to sue Defendants.
552
553          10.Plaintiff MY VAN INTERNATIONAL INC (My Van) is suing for
554   Copyright Infringement (Cause of Action 1). The issue is Defendants’ use of 12
555   seconds of a historical 1970 video that My Van alleges to own. My Van provided
556   this 12 second clip to Defendants and confirmed the permission for use in a series
                                               14
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557   of written emails to Defendant. Defendant asserts that this clip is considered stock
558   footage in the film industry and has little to no monetary value.
559
560          11.Plaintiff CARINA OANH HOANG is suing for Misappropriation of
561   Likeness (Cause of Action 4). Plaintiff states in her declaration that she agreed to
562   be interviewed and appear in the film but later changed her mind.
563
564                         SECOND AFFIRMATIVE DEFENSE
565
566
567                      BREACH OF CONTRACT BY PLAINTIFFS
568
569       12.MY VAN in the First Cause of Action alleges Copyright Infringement.
570   My Van states in his pleading that it allowed Defendant to use the video footage.
571
572          13.Defendant asserts that My Van and Defendant established a contract
573   through written email exchanges whereby My Van stated only one condition of
574   use. This one condition was that the footage could only be used in one film and
575   that for consideration he wanted a listing in the credits of the film.
576
577          14.NAM PHAM and MINH NGUYEN in the Second Cause of Action both
578   state they agreed to be in the film. Defendant asserts that Nam Pham and Minh
579   Nguyen both signed written Talent Release Form contracts and breached those
580   contracts with Defendants. These Talent Release Form contracts signed by these
581   plaintiffs allowed Defendants full rights to use their Likeness in the film and for
582   marketing of film. As per the Talent Release forms, both of these plaintiffs waived
583   their rights to sue Defendants.
584
585
586                          THIRD AFFIRMATIVE DEFENSE
587
588                                      Judicial Estoppel
589
590          15.Judicial Estoppel bars plaintiff NAM PHAM, President of plaintiff NVF,
591   from taking positions in a case that is inconsistent with his position in a prior judi-
592   cial proceeding.
593
594         16.Nam Pham states in his declaration (Exhibit A), that he previously stated
595   under oath in another court case, that his corporation NVF hired Defendant. Now,
596   Nam Pham states that his previous statement under oath was wrong. In this current
                                                 15
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597   lawsuit, Nam Pham now states that plaintiffs VVFH and SBTN have an unwritten
598   contract with Defendant.:
599
600   Exhibit A, pg.2, line 25. Page 3. Line 26 – Nam Pham Declaration
601
602   “Mr. Koster sued Ms. Minh Nguyen personally for defamation based on her efforts
603   to stop his, and the other Defendants’, wrongdoing. In that lawsuit I submitted a
604   declaration stating, among other things, that the Vietnam Foundation had hired Mr.
605   Koster to work on the Film. Of course, the Vietnam Foundation was not
606   technically formed until December 2019. It would therefore be more precise to say
607   that the producers of the Film – VVFH and SBTN – hired Mr. Koster and raised
608   funds for the benefit of the Vietnam Foundation which, by agreement between the
609   producers, on the one hand, and Mr. Koster, on the other hand, would be the owner
610   of the Film and all related material, and all rights thereto.”
611
612          17.Minh Nguyen states in her declaration (Exhibit A), that she previously
613   stated under oath in another court case, that Next Vietnam Projects Foundation Inc
614   (NVF) funded the film but now states that her previous statement under oath was
615   false because NVF didn’t exist at the time. In this current lawsuit she now states
616   that other entities funded the film.
617
618   Exbibit E, pg. 2., lines 24-28 – Minh Nguyen’s Declaration:
619
620   “I was sued personally for defamation by Mr. Koster in Arizona due to my efforts
621   to stop Mr. Koster’s, and the other Defendants’, misconduct. In that matter, I sub-
622   mitted a declaration wherein I stated, among other things, that the Film was funded
623   by the Vietnam Foundation, which was my understanding at the time. I now under-
624   stand that the Vietnam Foundation was not technically formed until late 2019, alt-
625   hough the Film, and the rights thereto, belong to the Foundation.”
626
627
628          18.Nam Pham’s and Minh Nguyen’s false testimony under oath in that pre-
629   vious lawsuit, convinced the Judge in his ruling that Jurisdiction was not in Ari-
630   zona. This previous lawsuit included a number of counts against Minh Nguyen in-
631   cluding Interference of Business Expectations. The Defendant filed this lawsuit in
632   the attempt to stop Minh Nguyen’s relentless and ruthless personal attacks on De-
633   fendant, his family and friends. Richard Botkin, as stated in the complaint, sent the
634   Defendant an email on behalf of Minh Nguyen. In this email, Richard Botkin
635   stated, if Defendant does not do what he is told to do, he will be both personally
636   and professionally destroyed.
                                               16
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637
638                         FOURTH AFFIRMATIVE DEFENSE
639
640   17.22 COPYRIGHT—AFFIRMATIVE DEFENSE—FAIR USE (17 U.S.C. § 107)
641
642          19.MY VAN in First Cause of Action alleges Copyright Infringement. Even
643   if My Van has changed his mind about allowing usage of footage, Defendant has
644   used only 12 seconds of a 1 hour 40-minute film. The use is editorial, contains ge-
645   neric streets scenes and is it not a critical part of the film. Also, this is a historical
646   film from 1970 that My Van did not create but has registered a copyright in 2016.
647   Defendant’s opinion is that there is high likely hood that this film is in the Public
648   Domain.
649
650                           FIFTH AFFIRMATIVE DEFENSE
651
652              COPYRIGHT LAW OF THE UNITED STATES (TITLE 17)
653
654          20.Plaintiff Nam Pham, President of NEXT VIETNAM PROJECTS
655   FOUNDATION INC (NVF), (Cause of Actions 2,5,6) states in the complaint that
656   NVF does not have a contract with Defendants and that NVF was not in existence
657   during production of the film. NVF alleges ownership of the copyright of the film
658   which is in direct violation of Copyright Law of the United States (Title 17). NVF
659   also did not provide a single piece of evidence in their 110 pages of exhibits and
660   declarations that would suggest NVF had a business relationship with Defendants.
661
662          21.Plaintiff SAIGON BROADCASTING TELEVISION NETWORK INC
663   (SBTN), (Cause of Actions 2,3,6,7) states “Defendants were parties to a contract
664   established by their conduct and mutual representations” which resulted in SBTN
665   copyright ownership of the film. SBTN allegation is in direct violation of
666   Copyright Law of the United States (Title 17). SBTN also did not provide a single
667   piece of evidence in plaintiffs’ 110 pages of exhibits and declarations that would
668   suggest SBTN had a business relationship with Defendants.
669
670          22.Plaintiff RADIX CORPORATION (VVFH), (Cause of Actions 2,3,6,7)
671   states “Defendants were parties to a contract established by their conduct and mu-
672   tual representations” which resulted in VVFH copyright ownership of the film.
673   VVFH allegation is in direct violation of Copyright Law of the United States (Title
674   17). VVFH also did not provide a single piece of evidence in plaintiffs’ 110 pages
675   of exhibits and declarations that would suggest VVFH had a business relationship
676   with Defendants.
                                                  17
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677
678          23.NVF alleges to be a third party beneficiary of the alleged unwritten con-
679   tract between VVFH/SBTN and Defendant. Since NVF was not in existence in
680   2018, NVF can not be an Intended Beneficiary. NVF would instead be an Inci-
681   dental Beneficiary that has no contractual rights and can not sue in reference to this
682   alleged contract.
683
684                          SIXTH AFFIRMATIVE DEFENSE
685
686                                UNJUST ENRICHMENT
687
688          24.MY VAN in FIRST CAUSE OF ACTION alleges Copyright
689   Infringement. Defendant asserts that My Van is seeking to recover more than it is
690   entitled to recover in this case, and the award of the judgement sought by My Van
691   would unjustly enrich My Van. Defendant asserts that there is very little to no
692   monetary value to the historical 1970 video footage provided by My Van to
693   Defendant.
694
695          25.Defendant asserts that all the PLAINTIFFS are seeking to recover more
696   than they are entitled to recover in this case, and the award of the judgement
697   sought all Plaintiffs would unjustly enrich the Plaintiffs.
698
699
700                        SEVENTH AFFIRMATIVE DEFENSE
701
702                               PAROL EVIDENCE RULE
703
704          26.MY VAN in FIRST CAUSE OF ACTION alleges Copyright
705   Infringement. Defendant asserts that the written email that My Van sent to the
706   Defendant was intended to be the full agreement between the parties, and that My
707   Van cannot present any evidence not in writing to establish any terms of the
708   agreement not in the written agreement.
709
710          27.NAM PHAM and MINH NGUYEN in the FOURTH CAUSE OF
711   ACTION (Misappropriation of Likeness) stated that Defendant made
712   representations outside of their written Talent Release Form contracts. Defendant
713   asserts that the written agreement with Nam Pham and Minh Nguyen was intended
714   to be the full agreement between the parties, and that Nam Pham and Minh Nguyen
715   cannot present any evidence not in writing to establish any terms of the agreement
716   not in the written agreement.
                                                18
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717
718
719                         EIGHTH AFFIRMATIVE DEFENSE
720
721                             NO DAMAGE TO PLAINTIFFS
722
723         28.Defendant asserts that even if Plaintiffs allegations are true, Plaintiffs did
724   not suffer any damages or economic loss.
725
726                          NINTH AFFIRMATIVE DEFENSE
727
728                                   UNCLEAN HANDS
729
730         29.Defendant asserts that Plaintiffs have committed wrongdoings, and this
731   lawsuit is attempting to benefit from this wrongdoing.
732
733                          TENTH AFFIRMATIVE DEFENSE
734
735                                         LACHES
736
737           30.Defendant asserts that Plaintiffs has waited an unreasonably long time to
738   file this lawsuit (1 year 7 months since alleged breach), and the Defendant’s ability
739   to defend this lawsuit has been severely prejudiced due to this unreasonable delay
740   by denying Defendant’s access to documents, physical evidence, witnesses and a
741   reasonably fresh recollection of the events giving rise to this lawsuit.
742
743
744                       ELEVENTH AFFIRMATIVE DEFENSE
745
746                          FAILURE TO MITIGATE DAMAGES
747
748           31.Defendant asserts that Plaintiffs have failed to take reasonable steps to
749   reduce or minimize the damages that allegedly occurred. Plaintiffs did not contact
750   the Defendant about the Defendant’s alleged breaches (with the exception of Minh
751   Nguyen and Next Vietnam Foundation Inc.) until the Defendant learned of it from
752   the lawsuit. Also, all the Plaintiffs waited 1 year 7 months from the alleged breach
753   to file his lawsuit.
754
755                       TWELVETH AFFIRMATIVE DEFENSE
756

                                                19
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757                                   LACK OF PRIVITY
758
759         32.Radix Corporation Inc (VVFH), Saigon Broadcasting Television Network
760   Inc (SBTN) and Next Vietnam Foundation Inc (NVF) state in the SECOND
761   CAUSE OF ACTION “Defendants were parties to a contract established by their
762   conduct and mutual representations. The Vietnam Foundation is a third-party
763   beneficiary of that contract.” (pg. 19, para 79, line 19)
764
765          33.Defendant asserts that there is no contractual relationship or agreement
766   between VVFH, SBTN and NVF and the Defendants. The Defendant never entered
767   into a contract or agreement that relates to the Second Cause of Action. The
768   question arises as to why VVFH, SBTN and NVF did not provide a single item of
769   evidence of this unwritten contractual agreement in plaintiffs’ 110 pages of exhibits
770   and declarations.
771
772                     THIRTEENTH AFFIRMATIVE DEFENSE
773
774                                 STATUE OF FRAUDS
775
776         34.VVFH, SBTN and NVF state in the SECOND CAUSE OF ACTION
777   “Defendants were parties to a contract established by their conduct and mutual
778   representations. The Vietnam Foundation is a third-party beneficiary of that
779   contract.” (pg. 19, para 79, line 19)
780
781         35.The Defendant asserts that VVFH, SBTN and NVF are suing under a
782   theory of unwritten contract, but such an unwritten contract would be
783   unenforceable because it is required to be in writing pursuit to California Civil
784   Code 1624(a)(1-7).
785
786         36.Defendant asserts that it is not reasonable to believe that with the many
787   complexities of making a feature film, that any reasonable party would ever go into
788   a binding contract strictly through conduct and mutual representations.
789
790                     FOURTEENTH AFFIRMATIVE DEFENSE
791
792                               LACK OF ACCEPTANCE
793
794        37.VVFH, SBTN and NVF state in the SECOND CAUSE OF ACTION
795   “Defendants were parties to a contract established by their conduct and mutual


                                               20
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796   representations. The Vietnam Foundation is a third-party beneficiary of that
797   contract.” (pg. 19, para 79, line 19)
798
799         38.Defendant asserts that no contract was formed because Defendant never
800   explicitly or through his actions accepted the contract or certain terms of the
801   contract.
802
803
804                        FIFTEEN AFFIRMATIVE DEFENSE
805
806                   RUNNING OF THE STATUE OF LIMITATIONS
807
808         39.VVFH, SBTN and NVF state in the SECOND CAUSE OF ACTION
809   “Defendants were parties to a contract established by their conduct and mutual rep-
810   resentations. The Vietnam Foundation is a third-party beneficiary of that contract.”
811   (pg. 19, para 79, line 19).
812
813          40.Defendant asserts that there is no contract but even if there was one, re-
814   covery in this case is barred by the statute of limitations as VVFH, SBTH and NVF
815   have waited more than 2 years from the date of the alleged breach by the Defend-
816   ant before filing this lawsuit, and recovery is therefore barred under Code of Civil
817   Procedure 339. The alleged breach of contract by Defendant conveyed in the com-
818   plaint is November 22, 2019.
819
820
821                        SIXTEEN AFFIRMATIVE DEFENSE
822
823                                        LACHES
824
825          41.Defendant asserts that Plaintiffs, by citing allegations from over 5 to 10
826   years ago, have waited an unreasonably long time to file this lawsuit, and the
827   Defendant’s ability to defend this lawsuit has been severely prejudiced due to this
828   unreasonable delay by denying the Defendant access documents, physical
829   evidence, witnesses and a reasonably fresh recollection of the events giving rise to
830   this lawsuit.
831
832
833                    SEVENTEENTH AFFIRMATIVE DEFENSE
834
835                    NO BREACH OF CONTRACT BY PLAINTIFF
                                               21
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836
837         42.In Defendant’s contracts and agreements with plaintiffs My Van, Nam
838   Pham, Minh Nguyen and Carina Oanh Hoang, the Defendant asserts that Defend-
839   ant performed all duties owed under the contracts and agreements, and therefore
840   never breached the agreements.
841
842
843                     EIGTHTEENTH AFFIRMATIVE DEFENSE
844
845                     FAILURE TO STATE A CAUSE OF ACTION
846
847         43.The defendant asserts that the plaintiffs have failed to state essential ele-
848   ments for their causes of action.
849
850                      NINETEENTH AFFIRMATIVE DEFENSE
851
852                                        ESTOPPEL
853
854          44.The Defendant relied upon the original representations of the Plaintiffs to
855   his detriment and asks the court to decide this case as if the original Plaintiffs’ rep-
856   resentations are true.
857
858                      TWENTIETH AFFIRMATIVE DEFENSE
859
860                                          FRAUD
861
862          45.Plaintiff Minh Nguyen states in her pleading that on behalf of plaintiff
863   NVF, she sent copyright take notices to distribution platforms Vimeo, Ebay and
864   IMDB to stop Defendants’ US Registered Copyrighted film from being released.
865   Minh Nguyen misrepresentation to these companies that Defendants are not the
866   copyright owners. Minh Nguyen had signed a Talent Release Form Contract with
867   Koster prohibiting her from taking any legal activities against Koster and his affili-
868   ates in reference to the film. This is copyright infringement and greatly harmed De-
869   fendants.
870
871
872                               ADDITIONAL DEFENSES
873
874         Defendants reserve the right to assert additional defenses based on infor-
875   mation learned or obtained during discovery.
                                                 22
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876
877   WHEREFORE, in the Defendant’s belief, this complaint was a manufactured law-
878   suit specifically designed to be too costly and time consuming for Defendants to le-
879   gally answer to, so Defendant respectfully request to the Court that it:
880
881      A. Dismiss the Complaint in its entirety with prejudice.
882
883      B. Deny each and every demand and prayer for relief contained in the Com-
884         plaint.
885
886      C. Award Defendants their costs and reasonable attorneys’ fees; and
887
888      D. Award Defendants such other and further relief as the Court deems just and
889   proper.
890
891      I declare under penalty of perjury that the foregoing is true and correct.
892
893      Dated June 9, 2023
894
895
896                                                  _________________________
897
898                                                  Frederick Koster Defendant in Pro
899
900
901
902                                  COUNTER CLAIM
903
904      Defendant Frederick Koster asserts this counterclaim against Plaintiffs; The
905   Next Vietnam Projects Foundation, Inc (NVF), Radix Corporation (VVFH),
906   Saigon Broadcasting Network, Inc. (SGTN), My Van International, Inc. (My Van),
907   Nam Pham (Pham), Carina Oanh Hoang, Diep Phan, Trong Phan, Son Nguyen,
908   Thanh-Mai Nguyen and Minh Nguyen.
909
910                                     THE PARTIES
911
912      1. Frederick Koster (Koster), a resident of Arizona
913      2. Next Vietnam Projects Foundation, Inc (NVF) claims to be a Massachusetts
914         corporation.
915      3. Radix Corporation (VVFH) claims to be a Texas corporation.
                                                23
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916    4. Saigon Broadcasting Network, Inc. (SGTN) claims to be a California
917        corporation.
918    5. My Van International, Inc. (My Van) claims to be a California corporation.
919    6. Nam Pham (Pham) claims to be a Massachusetts resident.
920    7. Carina Oanh Hoang claims to be an Australian citizen.
921    8. Diep Phan claims to be a California resident.
922    9. Trong Phan claims to be a Texas resident.
923    10. Son Nguyen claims to be a California resident.
924    11. Thanh-Mai Nguyen claims to be a California resident.
925    12. Minh Nguyen (Nguyen) claims to be a California resident and practicing
926        attorney.
927
928
929
930                              JURISDICTION AND VENUE
931
932    13. United States District Court for the Central District of California
933
934                                      BACKGROUND
935
936
937    14. In December 2017, Defendant/Plaintiff, Frederick Koster (Koster) was
938        contacted by Plaintiff/Defendant Nam Pham (Pham). Pham told Koster that
939        Pham knew of Koster from a previous film that Koster had directed,
940        produced, and wrote the screenplay for, called Ride the Thunder – A
941        Vietnam War Story of Victory & Betrayal.
942
943    15. Pham told Koster that Koster had become very well known in the
944        Vietnamese Community due to the popularity of Ride the Thunder.
945
946    16. Ride the Thunder was a theatrical film released in 2015 that was number one
947        at the box office in its opening week (per theater basis, Rentrak). The film
948        had a successful independent limited theatrical run and made the Academy
949        Awards Qualifying List. The film also has been watched by approximately
950        2.5 million people on Amazon Prime.
951
952    17. In January of 2018, Pham asked Koster if he was interested in creating a new
953        film project on the Vietnam War. Koster agreed that he was interested.
954
955    18. Pham stated he needed to raise money for the making of this new
                                              24
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956       film. Pham asked Koster if he could help promote this new film project by
957       way of being interviewed on numerous TV and radio shows and making per-
958       sonal appearances at events among other ways to help. Koster, believing
959       that this was an altruistic community non-profit venture by Pham, agreed to
960       help.
961
962    19. Pham asked Koster if Pham could be an actor in the film. Koster agreed.
963        Nam later asked if future plaintiff, Minh Nguyen (Nguyen), could also be an
964        actor in the film. Koster agreed.
965
966    20. Both Pham and Nguyen signed industry standard written Talent Release
967        form contracts allowing Koster to use their likeness and names in the film
968        and marketing thereof. In these Talent Release forms both, Pham and Ngu-
969        yen expressively waived their rights to sue Koster or any of his affiliates.
970
971    21. As time went along during 2018 and 2019, Koster saw money being raised
972        through many different parties using Koster’s name to promote and raise
973        money for this new film.
974
975    22. This fund raising was not by a single non-profit organization but by many
976        different organizations in numerous states and on the Internet. Some were
977        non-profit and others were for-profit businesses. Koster saw no single legal
978        entity operating this fund raising. Nor did he see the legal protocols of a
979        non-profit being administered to this fund raising.
980
981    23. During this time, Pham on many occasions introduced Koster to many dif-
982        ferent individuals to talk about the creation of this new film project.
983
984    24. In 2019, an ongoing dispute started between Koster and Pham in reference to
985        how much money was being raised and how much money was being allo-
986        cated for the making of the film.
987
988    25. Steve Sherman of plaintiff, Radix Inc, on behalf of Pham, sent Koster a writ-
989        ten email stating that if Koster asks for any more money or asks any more
990        questions about it, that Sherman will use his influence and business connec-
991        tions to make sure that Koster never works again. Sherman also stated that
992        he will use the money that was raised for the film to sue Koster.
993
994    26. By September 2019, due to lack of funding Koster had already stopped film


                                             25
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 995       production twice. Koster contacted the person that Pham stated was his as-
 996       sistant and Koster requested more funding to continue film production.
 997       Koster was told by the assistant that there was very little money left.
 998
 999    27. Koster stated in a group email to interested people that he will not continue
1000        production of the film until Koster knows how much money was raised and
1001        proof there was still money left for film production. Exhibit plaintiff
1002
1003    28. Pham then emailed a simple one-page document of monies raised and also
1004        provided two separate bank statements. Each bank statement contained equal
1005        amounts of about $45,000 each. The bank statements were from an organi-
1006        zation called You Help Foundation Inc which is not a plaintiff in this case.
1007        Pham was president of this foundation. Labeled at the top of one bank state-
1008        ment was plaintiff’s Radix name, “VVFH” and the other bank statement was
1009        labeled “TOE” (an unknown entity to Koster). This TOE entity appeared in
1010        Plaintiffs’ exhibit --- whereby plaintiff SBTN informs their television audi-
1011        ence in order to donate to this new film project, write their checks out to
1012        TOE and mail it to them.
1013
1014    29. On November 22 2019, Nam sent a group email to interested parties stating
1015        to people that he wanted to sue Koster for not finishing the film.
1016
1017    30. All totaled, from May 22, 2019 to November 25, 2019, Koster received 9
1018        sums of money from multiple sources that used numerous delivery methods
1019        to Koster, totaling $265,000.
1020
1021    31. Koster never received any IRS reporting 1099 forms for this money re-
1022        ceived. When Koster asked about this, Koster was told that no IRS docu-
1023        ments needed to be filed.
1024
1025    32. Also due to the many people and organizations that were involved in this
1026        fund raising, Koster did not know who the single legal entity was, that was
1027        operating this fund raising. Koster was never offered a contract nor were
1028        there any discussions about a contract or agreement about making the film.
1029
1030    33. Although confronted with many difficulties in getting funding to make this
1031        film, Koster realized that his name was advertised to the public in reference
1032        to the making of this new film. Due to this and the importance of this film,
1033        Koster felt compelled to finish making this film anyway and put his own
1034        money into it.
                                              26
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1035
1036    34. In making this film Koster performed the following:
1037
1038    35. During a approximately two-year period, Koster and subcontractor(s) of
1039        Koster, went on about 26 separate travel trips in the making and promotion
1040        of the film.
1041
1042    36. Koster and subcontractor(s) of Koster, traveled to and performed film pro-
1043        duction in Paris France, New York City, Washington DC, Los Angeles CA,
1044        Phoenix AZ, Houston TX and Dallas TX among other cities.
1045
1046    37. Koster conducted approximately 90 videotaped interviews which were pro-
1047        fessionally shot in theatrical 4K format.
1048
1049    38. Koster paid all related expenses and personally produced all film production
1050        both domestically and internationally. Filming days included multiple days
1051        of cast and crew numbering about 80 people per day on set and using multi-
1052        ple cameras to shoot. (See pics)
1053
1054    39. Koster directed, produced and wrote the screenplay for the film.
1055
1056    40. Koster paid for all related expenses of film pre-production, production and
1057        post-production including salaries of actors, editors, sub-contractors, cater-
1058        ing, travel expenses, lodging, locations fees, rentals of camera, lighting, etc.,
1059        crew, travel expenses (including trip to Paris France) along with other typi-
1060        cal production and postproduction costs like licensing music, b-roll footage,
1061        etc..
1062
1063    41. The $265,000 that was received by Koster during 2018 and 2019 was put to-
1064        wards the production of the film. The rest of the cost of making the film was
1065        paid by Koster.
1066
1067    42. In 2021, Koster completed the film and sent private screeners to prominent
1068        historians and military figures. The film was highly praised as one of the
1069        best documentaries on the Vietnam War.
1070
1071    43. In 2021, Koster started receiving calls and text messages from the Vietnam-
1072        ese community stating that there was a lot more money collected during
1073        fund raising that was being reported. Included in these text messages were
1074        claims of evidence that much more money was collected. In conversations
                                                27
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1075       with other members of the Vietnamese community, Koster was told that
1076       Pham has been asking many people to write negative letters about Koster.
1077       Koster was told everyone that they knew refused to write these letters.
1078
1079    44. At the beginning of 2021, through emails and discussions, Koster was made
1080        aware that Pham although not the copyright holder of the film, had been try-
1081        ing to sell the film to Neflix and Hulu.
1082
1083    45. On or about April 21, 2021, Koster released his copyrighted film and mar-
1084        keted this film through Vimeo, Ebay and Imdb.
1085
1086    46. On April 22, 2021, plaintiff Nguyen without first directly contacting Koster,
1087        emails Koster and cc copies to numerous prominent people claiming that
1088        Koster has no right to use her likeness in the film. Nguyen further states
1089        among many other false and defamatory statements about Koster, that
1090        Koster was committing willful copyright infringement, malicious fraudulent
1091        misconduct and disseminating false copyright claims. Nguyen also states
1092        that an organization (which is fictitious) is the one who owns the film. See
1093        Exhibit ---
1094
1095    47. Koster, due to never before receiving a Cease and Desist Letter from an at-
1096        torney, temporarily stops the distribution of the film to the public until he
1097        talks with his attorney.
1098
1099    48. Koster’s attorney, advised him that what Nguyen sent to him was not a court
1100        ordered document and that Nguyen has no legal right to take down Koster’s
1101        copyrighted film.
1102
1103    49. Koster then released the film again.
1104
1105    50. On April 26 2021, Nguyen, under her title as an attorney for her law firm,
1106        Kasowitz Benson Torres LLP, emailed one of Koster’s subcontractors, Brian
1107        Tooker (Tooker) that stated Koster will soon be criminally charged and will
1108        be under criminal proceedings. She is also suing Koster on behalf of an en-
1109        tity that she represents (this entity that she cites is fictitious). Nguyen fur-
1110        ther states a number of false and inflammatory statements about Koster and
1111        then states that unless Tooker sends property owned by Koster to her law
1112        firm, Tooker will also be faced with criminal charges and will be sued by
1113        her. Exhibit --
1114

                                               28
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1115    51. On April 27, 2023, Nguyen sent DMCA copyright take down notices to
1116        Vimeo, Ebay and IMDb. In the documents that Koster received from these
1117        companies, Nguyen claimed that she was the copyright holder. In Nguyen
1118        declaration, she states that she did this take down at the request of plaintiff
1119        Pham and plaintiff Next Vietnam Foundation.
1120
1121    52. On May 7 2021, Nguyen, under her title as an attorney for her law firm,
1122        Kasowitz Benson Torres LLP, sent another email directed at Koster and
1123        Tooker with cc copies to numerous prominent people. This email reiterated
1124        that Koster was committing willful copyright infringement, malicious fraud-
1125        ulent misconduct and disseminating false copyright claims. Nguyen states
1126        multiple false and inflammatory statements defaming Koster, including that
1127        Koster does not have a written Talent Release contract with her. Nguyen
1128        continues to state that she is in discussions with the District Attorney Office
1129        in commencing a formal criminal complaint that will commence immedi-
1130        ately against Koster and his subcontractor.
1131
1132    53. On May 19, 2021, Richard Botkin on behalf of Nguyen, sends an email to
1133        Koster stating the following “I am not sure you grasp fully the seriousness of
1134        these issues nor what failure to comply will mean for you personally, profes-
1135        sionally and financially. …spare yourself tragic consequences if you fail to
1136        accede to their demands.”
1137
1138    54. In reference to Botkin’s email to Koster. Koster telephones Botkin and
1139        leaves a message to call him. Instead of a call back from Botkin, Koster gets
1140        an email from Nguyen that Botkin is being represented by her law firm.
1141
1142    55. On May 11. 2023, Pham send emails to Koster and cc copies to numerous
1143        prominent people making false claims and defaming Koster. Pham demands
1144        Koster to send his interviews to Nguyen’s law firm, Kasowitz Benson Torres
1145        LLP,
1146
1147    56. In May of 2021, based on Nguyen ‘s threatening letters to sue Koster, Koster
1148        on the advice from Koster’s attorney, was told it was urgent to file a lawsuit
1149        now before Nguyen files one against Koster in California. Koster files a
1150        lawsuit against Nguyen in Arizona State Civil Court for several causes in-
1151        cluding breach of contract and interference of business.
1152
1153    57. As stated in the plaintiffs’ current lawsuit in CA Federal Court against
1154        Koster, both Nguyen and Pham admit in their declarations that they provided
                                               29
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1155       false testimony under oath to the Arizona Judge. Their now admitted false
1156       testimony directly affected the Judge’s decision that Jurisdiction was not in
1157       Arizona. Koster did not further pursue this lawsuit.
1158
1159    58. On February 5, 2022, Pham privately emailed Tooker (Koster’s subcontrac-
1160        tor for film) stating that Pham wants to avoid a lawsuit against Tooker and
1161        will pay Tooker to send Pham the Interviews which are the property of
1162        Koster. Tooker does not send the Interviews.
1163
1164    59. In March of 2022, Koster contacted a large and well-respected US govern-
1165        ment sanctioned non-profit called Victims of Communism (VOC) to donate
1166        the Koster interviews to VOC.
1167
1168    60. In email correspondence with the VOC, the VOC was extremely impressed
1169        by the interviews and was excited to receive this donation. The VOC told
1170        Koster that they were going to put the interviews on their website and then
1171        create contests for Vietnamese Film makers to see who could make the best
1172        films using these interviews. VOC also talked about premiering the film at
1173        their facility which would have gotten a lot of national attention for the Viet-
1174        namese community.
1175
1176    61. The VOC suddenly stopped communicating with Koster. Koster didn’t un-
1177        derstand want happened until plaintiff Pham presented in Exhibit K in his
1178        complaint that Pham stopped this donation.
1179
1180    62. On March 8, 2022, Pham and Nguyen sent through email to Koster, a writ-
1181        ten contract to buy the film and the interviews from Koster for $30,000.
1182        Among the many one-sided conditions in the contract was that there would
1183        be a transfer of copyright ownership of both the film and interviews to Next
1184        Vietnam Foundation, they would have total control of the film including
1185        keeping revenue sources and also re-editing of the film including changing
1186        the credits of the film and that Koster’s credit would be downgraded from
1187        Director to co-director.
1188
1189    63. Koster’s attorney reviewed the contract and replied in an email to Koster
1190        that the contract was completely one sided in favor of NVF and was danger-
1191        ous because it allowed NVF to sue in the future while Koster had no rights
1192        in the contract.
1193
1194    64. On November 23, 2022, plaintiffs Pham, Nguyen and 9 others filed a lawsuit
                                               30
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1195         against defendant Koster and one of Koster’s subcontractors, Brian Tooker
1196         and his LLC.
1197
1198      65. In 2023, Pham, Nguyen and other Plaintiffs made a settlement with code-
1199          fendant Tooker. The settlement agreement included Tooker (who at the time
1200          had possession of Koster Interviews, film, etc.) giving plaintiffs this Koster
1201          copyrighted property to the plaintiffs and then Plaintiffs forbade Tooker
1202          from releasing Koster’s own property back to Koster.
1203
1204      66. On April 13, 2023, Pham is interviewed live on radio station 900AM Hou-
1205          ston in reference to the film. Pham, in a recorded interview, tells the radio
1206          audience about the lawsuit and states that he will win in court by default.
1207          Pham makes false statements and continues to defame Koster on the radio.
1208
1209      67. On April 14, Koster is interviewed live on radio station 900AM Houston to
1210          counter Pham’s previous day’s statements.
1211
1212                                  COUNTERCLAIMS
1213
1214                              Count 1
1215          (KOSTER AGAINST MINH NGUYEN, NAM PHAM, MY VAN
1216                        INTERNATIONAL INC)
1217                      (BREACH OF CONTRACT)
1218
1219          1.Koster repeats and reallege all of the foregoing paragraphs as if fully set
1220   forth herein.
1221
1222          2.Koster owns the copyrighted film and has written signed Talent Release
1223   Form Contracts with Minh Nguyen (Nguyen) and Nam Pham (Pham) whereby
1224   Nguyen and Pham expressly agreed to allow Koster full use of their likeness and
1225   performance in the film and to utilize their appearance in connection to the film.
1226   This Talent Release Form also states that Nguyen and Nam expressly release
1227   Koster, his employees and licensees from and against any and all claims to the
1228   invasion of privacy, defamation or any cause of action arising out of production,
1229   distribution, broadcast or exhibition of the video.
1230
1231          3.Nguyen and Pham have repeatedly breached this Talent Release Form
1232   through filing a malicious lawsuit against Koster and a Koster licensee,
1233   defamation, interference of Koster business, illegal DMCA copyright take downs
1234   of the film’s distribution among other actions.
                                                 31
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1235
1236         4.Koster has suffered tremendously because of this defamation including
1237   financially, his reputation and health related issues.
1238
1239         5.My Van and Koster established a contract through written email exchanges
1240   whereby My Van stated only one condition of use of using his historical video
1241   footage. This one condition was that the footage could only be used in one film
1242   and that for consideration he wanted a listing in the credits of the film. My Van
1243   breached this agreement by changing his mind about this video usage of 12
1244   seconds without informing Koster and filing a malicious lawsuit against Koster and
1245   a Koster licensee.
1246
1247          6.The actions of Nguyen, Pham and My Van have severely and irreparably
1248   damaged Koster’s reputation, income and financial stability, from which Koster,
1249   aged 67 years old will never recover from. Their actions have also caused severe
1250   and prolonged emotional distress and health issues for Koster who is a senior
1251   citizen.
1252
1253                              COUNT 2
1254           (KOSTER AGAINST MINH NGUYEN, NAM PHAM, RADIX
1255                           CORPORATION)
1256                           (DEFAMATION)
1257
1258          7.Koster repeats and reallege all of the foregoing paragraphs as if fully set
1259   forth herein.
1260
1261          8.Nguyen, Pham and Steve Sherman of the Radix Corporation (VVFH) have
1262   willfully and repeatedly (both publicly and privately) severely defamed Koster
1263   through public written emails, word of mouth, through the media and the filing of a
1264   malicious lawsuit which is now publicly known through Pham’s radio interview
1265   that he did and also through the many group emails of Nguyen to prominent people
1266   that states that Koster is under criminal proceedings.
1267
1268         9.Nguyen also states that she sent DMCA copyright take down notices to
1269   multiple distribution companies including an organization called IMDb. IMDb is
1270   one of the most prominent film industry organizations in the world. This severe
1271   defamation of Koster to his industry peers is irreparable.
1272
1273         10.This defamation has caused irreparable and severe damage to Koster’s
1274   current and future earnings.
                                                 32
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1275
1276         11.This defamation of Koster is openly stated in written emails that Koster
1277   has received stating that he will be personally, financially and professionally
1278   destroyed.
1279
1280          12.The actions of Nguyen, Pham and VVFH have severely and irreparably
1281   damaged Koster’s reputation, income and financial stability, from which Koster,
1282   aged 67 years old will never recover from. Their actions have also caused severe
1283   and prolonged emotional distress and health issues for Koster who is a senior
1284   citizen.
1285
1286                             COUNT 3
1287                          (CONVERSION)
1288        (KOSTER AGAINST ALL OF THE PLAINTIFFS/DEFENDANTS)
1289
1290          13.Koster repeats and reallege all of the foregoing paragraphs as if fully set
1291   forth herein.
1292
1293         14.The Plaintiffs/Defendants are guilty of conversion in reference to Koster
1294   copyrighted property along with other solely own property that Koster owns.
1295   The Plaintiffs/Defendants have secretly negotiated a settlement with Koster’s co-
1296   defendant, Brian Tooker. Under duress codefendant Brian Tooker sent property
1297   owned by Koster which includes the film, interviews and other related Koster
1298   property to the Plaintiffs/Defendants. The Plaintiffs/Defendants then instructed
1299   Brain Tooker not to give Koster his own property.
1300
1301          15.Nguyen’s and Pham’s willful conduct is more severe since Koster has
1302   Talent Release Form Contracts with both Nguyen and Pham that made absolutely
1303   clear the terms of their involvement in the film and their rights.
1304
1305         16.Earlier Nguyen and Pham have sent illegal DMCA takedown copyright
1306   notices which deprived Koster of his constitutional right of releasing his
1307   copyrighted film.
1308
1309          17.The actions of the Plaintiffs/Defendants have severely and irreparably
1310   damaged Koster’s reputation, income and financial stability, from which Koster,
1311   aged 67 years old will never recover from. Their actions have also caused severe
1312   and prolonged emotional distress and health issues for Koster who is a senior
1313   citizen.
1314

                                                 33
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1315
1316                               COUNT 4
1317           (INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS)
1318            (KOSTER AGAINST MINH NGUYEN, NAM PHAM, RADIX
1319                        CORPORATION (VVFH))
1320
1321          18.Koster repeats and reallege all of the foregoing paragraphs as if fully set
1322   forth herein.
1323
1324          19.Nguyen, Pham and Steve Sherman of VVFH with extreme and malicious
1325   willful intent have committed multiple vicious attacks designed to traumatize
1326   Koster and in their written words, to destroy Koster personally, professionally and
1327   financially.
1328
1329          20.Nguyen’s and Pham’s conduct is that more outrageous since Koster has
1330   Talent Release Form Contracts with both Nguyen and Pham that made absolutely
1331   clear the terms of their involvement in the film and their rights.
1332
1333         21.Threats and severe defamation have not only been executed against
1334   Koster but also Koster’s family. The threats against Koster’s family was especially
1335   egregious.
1336
1337          22.Nguyen, Pham and Steve Sherman of VVFH strategy for the destruction
1338   of Koster is that of taking no prisoners. Koster’s longtime friend and
1339   subcontractor, Brian Tooker, was mercilessly threaten, then defamed and finally
1340   maliciously sued by Nguyen, Pham, Steve Sherman of VVFH and the other
1341   plaintiffs. Brian facing a lawsuit that he didn’t have the money to fight and facing
1342   the possibility of bankruptcy if he lost, was extorted in giving up Koster’s property
1343   to Nguyen, Pham and Steve Sherman of VVFH and the rest of the plaintiffs.
1344
1345          23.The openly overt and outrageous actions by Nguyen, Pham and Steve
1346   Sherman of VVFH are made all that more damaging by their wealth and prominent
1347   positions in the community. They attacked vulnerable people who they knew have
1348   limited resources and also with Koster being 67 years old would find it difficult to
1349   defend himself from this onslaught of vicious attacks himself and his family.
1350   The actions of Nguyen, Pham and Steve Sherman of VVFH have severely and
1351   irreparably damaged Koster’s reputation, income and financial stability, from
1352   which Koster, aged 67 years old will never recover from. Their actions have also
1353   caused severe and prolonged emotional distress and health issues for Koster who is
1354   a senior citizen
                                                 34
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1355
1356                                         COUNT 5
1357
1358                             TORTIOUS INTERFERENCE
1359
1360           (KOSTER AGAINST MINH NGUYEN, NAM PHAM, RADIX
1361                       CORPORATION (VVFH))
1362
1363
1364          24.Koster repeats and reallege all of the foregoing paragraphs as if fully set
1365   forth herein.
1366
1367         25.Minh Nguyen, Nam Pham and VVFH have wrongfully interfered with
1368   Koster’s contractual and business relationships.
1369
1370          26.Minh Nguyen and Nam Pham have sent numerous bad faiths cease and
1371   desist letters to Frederick Koster while cc’d copying about 18 prominent people on
1372   it. In addition, they sent fraudulent DMCA takedown notices to three separate
1373   large corporations that Koster does business with, to stop the release of Koster’s
1374   copyrighted owned film. Their false DMCA statements are perjury and greatly
1375   damaged Frederick Koster reputations and business relationships and earnings.
1376
1377          27.Frederick Koster had written Talent Release Form contracts with Minh
1378   Nguyen and Nam Pham expressly stating that they could not engage in any legal
1379   activities against Koster or his affiliates in reference to the copyrighted film that
1380   Koster owns.
1381
1382         28. Minh Nguyen, Nam Pham and VVFH have had numerous
1383   communications both oral and written to influential people severely interfering
1384   forever affecting Koster current and future business relationships.
1385
1386         29.Minh Nguyen, Nam Pham and VVFH conduct was highly willful,
1387   reckless, and malicious especially considering their extensive business experience.
1388   Minh Nguyen is an Intellectual Property Attorney and knows full well copyright
1389   law and the repercussions of violating it by making false claims. Koster has
1390   suffered tremendously because of their actions both financially and emotionally.
1391
1392                                         COUNT 6
1393
1394                (KOSTER AGAINST MINH NGUYEN, NAM PHAM)
                                                 35
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1395
1396                                         FRAUD
1397
1398          30.Minh Nguyen states in her pleading that on behalf of Nam Pham, she sent
1399   copyright take notices to distribution platforms Vimeo, Ebay and IMDB to stop
1400   Defendants’ US Registered Copyrighted film from being released. Minh Nguyen
1401   misrepresented to these companies that Defendants are not the copyright owners.
1402   Both Minh Nguyen and Nam Pham had signed Talent Release Form Contracts
1403   with Koster prohibiting them from taking any legal activities against Koster and
1404   his affiliates in reference to the film. This is copyright infringement and greatly
1405   harmed and damaged Koster financially.
1406
1407          31.Minh Nguyen and Nam Pham fully understood that they were under con-
1408   tract to Koster and that it prohibited them from taking these actions. Koster had
1409   depended on Nguyen and Pham to honor those contracts they signed and because
1410   they breached their contracts Koster has greatly suffered both financially and emo-
1411   tionally.
1412
1413                                 PRAYER FOR RELIEF
1414
1415         Wherefore, Plaintiff Koster pray that this Court enter a judgement in his
1416   favor on each and every claim of relief set forth above and award him relief
1417   including but not limited to:
1418
1419      a. Dismissal of all of Plaintiff’s claims with prejudice.
1420
1421      b. Preliminary and permanent injunctive relief requiring Plaintiffs to return all
1422         the Koster property they received from Brian Tooker in their settlement
1423         agreement of this lawsuit. And that Plaintiffs submit to the Court and
1424         Frederick Koster, the settlement agreement with Brian Tooker to assure that
1425         all property is returned.
1426
1427      c. Declarations from Plaintiffs stating that they did not keep copies of the said
1428         properties and they will not use or release these properties in any manner.
1429
1430      d. Declarations from the Plaintiffs stating that their allegations about all of the
1431         Defendants are untrue, and that Plaintiffs will stop all negative publicity and
1432         activities against Defendants.
1433
1434      e. Damages according to Proof
                                                 36
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1435
1436      f. Punitive damages.
1437
1438      g. Attorney Fees
1439
1440      h. Costs of suit incurred herein; and
1441
1442      i. Such other relief as the Court may deem just and proper.
1443
1444   DEMAND FOR A JURY TRIAL
1445
1446   Plaintiffs hereby demand a trial by jury of all issues by a jury.
1447
1448
1449
1450   Dated: June 9, 2023
1451
1452
1453
1454
1455                                                   Frederick Koster Defendant in Pro Per
1456
1457
1458




                                                  37
